Label Matrix for local noticing Case 18-10502-reg      Doc LLC
                                            Access Holdings, 13 Filed 04/17/18    PageAllen
                                                                                        1 ofCounty
                                                                                              3 Treasurer
0755-1                                      c/o Midwest Recovery Systems               1 East Main Street Suite 104
Case 18-10502-reg                           2747 W. Clay St., Ste. A                   Fort Wayne IN 46802-1888
Northern District of Indiana                Saint Charles, MO 63301-2557
Fort Wayne Division
Tue Apr 17 12:57:38 EDT 2018
Associated Anesthesiologists of FW          Associated Pathologists                    Bank of New York Mellon
c/o Snow & Sauerteig                        c/o Path Group                             8742 Lucent Blvd., Ste. 300
203 East Berry Street, Suite 1100           P.O. Box 530814                            Littleton, CO 80129-2386
Fort Wayne, IN 46802-2715                   Atlanta, GA 30353-0814


Blue Trust Loans                          R. David Boyer II                            Capital One Bank
c/o Hummingbird Funds, LLC                110 West Berry St. Ste. 1910                 P.O. Box 6492
9790 North County Road K                  Fort Wayne, IN 46802-2368                    Carol Stream, IL 60197-6492
Hayward, WI 54843-4251


Checksmart                                City Utilities                               Community Health Systems
1010 West Coliseum Blvd.                  200 East Berry Street                        c/o Mira Medical Revenue Group
Fort Wayne, IN 46808-1289                 Suite 130                                    Department 77304
                                          Fort Wayne, IN 46802-2733                    P.O. Box 77000
                                                                                       Detroit, MI 48277-0304

Credit One Credit/Visa                    Direct TV                                    Dupont Hospital
P.O. Box 60500                            P.O. Box 5007                                c/o Professional Account Services, Inc.
City of Industry, CA 91716-0500           Carol Stream, IL 60197-5007                  P.O. Box 188
                                                                                       Brentwood, TN 37024-0188


Dupont Hospital                           ENT                                          Carol A. Easterday
c/o Snow & Sauerteig                      c/o Attorney Daniel L. Lauer                 4620 Anglers Lane
203 East Berry Street, Suite 1100         127 West Berry Street                        Fort Wayne, IN 46808-3508
Fort Wayne, IN 46802-2715                 Fort Wayne, IN 46802-2315


Fort Wayne Dermatology Consultants        Franklin Credit                              (p)FRONTIER COMMUNICATIONS
5750 Falls Drive                          101 Hudson Street, 25th Floor                BANKRUPTCY DEPT
Fort Wayne, IN 46804-7147                 Jersey City, NJ 07302-3984                   19 JOHN STREET
                                                                                       MIDDLETOWN NY 10940-4918


Nancy J. Gargula                          Hospital Care Group                          Hospital Care Group PC
100 East Wayne Street, 5th Floor          c/o Total Recovery Services, Inc.            6435 West Jefferson Blvd., PMB 109
South Bend, IN 46601-2349                 11623 Coldwater Road                         Fort Wayne, IN 46804-6203
                                          Fort Wayne, IN 46845-1274


Indiana Department of Revenue             Indiana Employment Security Division         Jessica Sharon Owens
Bankruptcy Section - MS 108               10 North Senate Street                       Anselmo Lindberg Oliver LLC
100 North Senate Avenue, N240             Indianapolis, IN 46204-2201                  1771 W. Diehl Rd., Ste. 120
Indianapolis IN 46204-2231                                                             Naperville, IL 60563-4917


LabCorp                                   Lutheran Health Network                      Lutheran Health Network
P.O. Box 2240                             c/o Bank of America Processing Center        c/o Bank of America Processing Center
Burlington, NC 27216-2240                 15682 Collections Center Drive               15691 Collections Center Drive
                                          Chicago, IL 60693-0156                       Chicago, IL 60693-0156
Lutheran Hospital                    Case 18-10502-reg      Doc 13
                                                 Lutheran Hospital              Filed 04/17/18     PageLutheran
                                                                                                         2 of 3Hospital
15691 Collections Center Drive                       c/o PASI                                             c/o Snow & Sauerteig
Chicago, IL 60693-0156                               P.O. Box 188                                         203 East Berry Street, Suite 1100
                                                     Brentwood, TN 37024-0188                             Fort Wayne, IN 46802-2715


Lutheran Hospital                                    Lutheran Medical Group                               Medical Life Watch
c/oPASI                                              P.O. Box 4852                                        c/o Miramed Revenue Group
P.O. Box 188                                         Belfast, ME 04915-4852                               360 East 22nd Street
Brentwood, TN 37024-0188                                                                                  Lombard, IL 60148-4924


Morgan Creek Community Association                   NIPSCO                                               Ossip Optometry
c/o Thomas Law Firm                                  P.O. Box 13013                                       9795 Crosspoint Blvd., Suite 100
11623 Coldwater Road, Suite 104                      Merrillville, IN 46411-3013                          Indianapolis, IN 46256-3348
Fort Wayne, IN 46845-1282


PASI                                                 PMB/Emergency Medicine of IN, LLC                    Personal Finance/Mariner
PO Box 188                                           7619 West Jefferson Blvd.                            6027 North Clinton Street
Brentwood, TN 37024-0188                             Fort Wayne, IN 46804-4133                            Fort Wayne, IN 46825-4903



Plain Green, LLC                                     Progressive                                          RediMed
93 Mack Road, Suite 600                              256 West Data Drive                                  c/o Snow & Sauerteig
P.O. Box 270                                         Draper, UT 84020-2315                                203 East Berry Street., 1100
Box Elder, MT 59521-0270                                                                                  Fort Wayne, IN 46802-2715


Regional Finance Corp.                               Martin E. Seifert                                    Snow & Sauerteig
P.O. Box 830913                                      444 East Main Street                                 203 E. Berry Street , Suite 1100
Birmingham, AL 35283-0913                            Fort Wayne, IN 46802-1911                            Fort Wayne, IN 46802-2715



Specialized Loan Servicing                           Summit Radiology, PC                                 Sunil Ramrakhian, MD
8742 Kucent Blvd.                                    c/o Snow & Sauerteig LLP                             c/o Luthern Health Network
Suite 300                                            203 East Berry Street, Suite 1100                    7900 West Jefferson Blvd., Suite 201
Highlands Ranch, CO 80129-2386                       Fort Wayne, IN 46802-2715                            Fort Wayne, IN 46804-4128


Total Recovery Services, Inc.                        TruGreen
c/o Thomas Law Firm, PC                              c/o America Profit Recovery
11623 Coldwater Road, Suite 104                      34505 West 12 Mile Road, Suite 333
Fort Wayne, IN 46845-1282                            Farmington, MI 48331-3288




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Frontier Communications
19 John Street
Middletown, NY 10940
                                  Case 18-10502-reg             Doc 13       Filed 04/17/18        Page 3 of 3


                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Lutheran Hospital                                 (d)Lutheran Hospital                                 End of Label Matrix
15691 Collections Center Drive                       15691 Collections Center Drive                       Mailable recipients   52
Chicago, IL 60693-0001                               Chicago, IL 60693-0156                               Bypassed recipients    2
                                                                                                          Total                 54
